          Case 1:10-cr-00100-KD-C                    Doc# 128         Filed 08/24/12         Page 1 of 6           PageID# 486
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 1 (NOTE: Identify changes with Asterisks (*)) # 11023




                                         United States District Court
                                          SOUTHERN DISTRICT OF ALABAMA
          UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
V.
          DAVID LEE RILEY, JR.
                                                                           CASE NUMBER: 10-00100-001
Date of Original Judgment: February 3, 2011                                USM NUMBER: 11003-003

(or date of Last Amended Judgment)                                                Latisha Colvin
                                                                           Defendant's Attorney

Reason for Amendment:
     Correction of Sentence on Remand (F.R.Crim.P.35(a))                    Modification of Imposed Term of Imprisonment for
                                                                                 Extraordinary and Compelling Reasons (18:3582(c)(1))
     Reduction of Sentence for Changed Circumstances
          (F.R.Crim.P.35(b))                                                Modification of Imposed Term of Imprisonment for
                                                                                 Retroactive Amendment(s) to the Sent. Guide. (18:3582(c)(2))
     Correction of Sentence by Sentencing Court (F.R.Crim.P.35(a))
                                                                         X Direct Motion to District Court Pursuant to
     Correction of Sentence for Clerical Mistake (F.R.Crim.P.36)                 X 28 U.S.C. §2255 or
                                                                                    18 U.S.C. § 3559(c)(7)
     Modification of Supervision Conditions (18:3563(c) or 3583(e))

THE DEFENDANT:
X      pleaded guilty to count(s) 1 of the Indictment on 7/20/2010 .
       pleaded nolo contendere to count(s)      which was accepted by the court.
The defendant is adjudicated guilty of the following offenses:
                                                                                  Date Offense                    Count
Title & Section                Nature of Offense                                  Concluded                       No.(s)
21 U.S.C. § 846                Conspiracy to Possess with Intent                  March 12, 2010                   1
                               to Distribute Crack Cocaine


      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
       X       Count(s) 2 is/are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant's economic circumstances.

                                                                             August 10, 2012
                                                                           Date of Imposition of Judgment

                                                                            s/Kristi K. DuBose
                                                                           UNITED STATES DISTRICT JUDGE

                                                                            August 24, 2012
                                                                           Date
        Case 1:10-cr-00100-KD-C            Doc# 128        Filed 08/24/12          Page 2 of 6   PageID# 487
                                                                                                         Judgment 2
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 2 - Imprisonment
Defendant: DAVID LEE RILEY, JR.
Case Number: 10-00100-001

                                              IMPRISONMENT
       ***The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FORTY-SIX (46) MONTHS as to Count 1.

       X       Special Conditions: The Court orders that the defendant be allowed to participate in
residential, comprehensive, substance abuse treatment, while incarcerated.



X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at       a.m./p.m. on      .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
               before 2 p.m. on        .
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:
_____________________________________________________________________________________
_____________________________________________________________________________________
_____________________________________________________________________________________

Defendant delivered on                          to                             at _________________________
with a certified copy of this judgment.

                                                                             UNITED STATES MARSHAL


                                                                         By _____________________________
                                                                                Deputy U.S. Marshal
        Case 1:10-cr-00100-KD-C             Doc# 128       Filed 08/24/12        Page 3 of 6        PageID# 488
                                                                                                                 Judgment 3

AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: DAVID LEE RILEY, JR.
Case Number: 10-00100-001
                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5)
YEARS as to Count 1.

X Special Conditions: the defendant shall participate in a program of testing and treatment for
drug and/or alcohol abuse, as directed by the Probation Office. No fine was imposed, as the
defendant is unable to pay.

        For offenses committed on or after September 13, 1994: The defendant shall refrain from any
        unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
        days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
        the probation officer.
                The above drug testing condition is suspended based on the court’s determination that the defendant poses
                a low risk of future substance abuse. (Check, if applicable)

        The defendant shall register with the state sex offender registration agency in the state where the defendant
        resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

X       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised
release in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
judgment. The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (Probation
Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if applicable).


                                   See Page 4 for the
                        "STANDARD CONDITIONS OF SUPERVISION"
        Case 1:10-cr-00100-KD-C              Doc# 128        Filed 08/24/12        Page 4 of 6        PageID# 489
                                                                                                                     Judgment 4
AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: DAVID LEE RILEY, JR.
Case Number: 10-00100-001
                                        SUPERVISED RELEASE
                          STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court
        or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
        training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
        administer any controlled substance or any paraphernalia related to any controlled substances, except as
        prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
        administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
        person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
        permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
        agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
        defendant's criminal record or personal history or characteristics, and shall permit the probation officer to
        make such notifications and to confirm the defendant's compliance with such notification requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under
        the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
        Case 1:10-cr-00100-KD-C             Doc# 128        Filed 08/24/12        Page 5 of 6        PageID# 490
                                                                                                                    Judgment 5

AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: DAVID LEE RILEY, JR.
Case Number: 10-00100-001
                           CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                              Assessment                    Fine                          Restitution
        Totals:               $ 100.00                      $ -0-                         $ -0-

        The determination of restitution is deferred until    . An Amended Judgment in a Criminal Case
        (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior to the United States
receiving payment.

        The defendant shall make restitution (including community restitution) to the following payees in the
        amounts listed below.

Name(s) and                   *Total                        Amount of                     Priority Order or
Address(es) of Payee(s)       Amount of Loss                Restitution Ordered           % of Payment




TOTALS:                       $                             $

        If applicable, restitution amount ordered pursuant to plea agreement. $
         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).


        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               The interest requirement is waived for the fine and/or          restitution.
               The interest requirement for the       fine and/or        restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States
Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
        Case 1:10-cr-00100-KD-C                Doc# 128         Filed 08/24/12         Page 6 of 6         PageID# 491
                                                                                                                         Judgment 6

AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments

Defendant: DAVID LEE RILEY, JR.
Case Number: 10-00100-001
                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

        A         X  Lump sum payment of $ 100.00 due immediately, balance due
                             not later than          , or    in accordance with C,         D, E or F below; or
        B            Payment to begin immediately (may be combined with C, D, E or F below); or
        C           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
                 period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date
                 of this judgment; or
        D            Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
                 period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
                 from imprisonment to a term of supervision; or
        E            Payment during the term of supervised release will commence within            (e.g., 30 or 60
                 days) after release from imprisonment. The court will set the payment plan based on an
                 assessment of the defendant's ability to ay at that time; or
        F            Special instructions regarding the payment of criminal monetary penalties:


        Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
        period of imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment.
        All criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons'
        Inmate Financial Responsibility Program, are to be made to the clerk of court, unless otherwise directed by the
        court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

                 Joint and Several:
                 The defendant shall pay the cost of prosecution.
                 The defendant shall pay the following court cost(s):
                 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
